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                                                                                   ELECTRONICALLY FILED
                                                                                        Pulaski County Circuit Court
                                                                                  Terri Hollingsworth, Circuit/County Clerk
                                                                                     2022-Jan-27 17:30:04
                                                                                         60CV-22-656
                                                                                       C06D04 : 7 Pages




              INT HE CIRCUIT COURT OF PULASKI COUNTY, ARKANSAS
                                CIVIL DIVISION


ANGELA MOODY                                                                         PLAINTIFF
vs.                            CASE NO.       60CV-2022-_ __

JAMES R. FLENS                                                                    DEFENDANT


                                            COMPLAINT
         Comes the Plaintiff, Angela Moody, by and through her attorney, Andrea Brock,

and for her Complaint against Defendant, states to the Court:

         1.       Plaintiff, Angela Moody, is a resident of Pulaski County, Arkansas.

         2.       Defendant, James R. Flens, is a resident of the state of Florida.

         3.       During the years   2012   through   2014,   Defendant was retained as a forensic

psychology consultant to review records pertaining to an Arkansas divorce and child

custody action. Defendant was retained by Plaintiff's ex-spouse and Defendant provided

forensic psychology consultant services in the state of Arkansas and in an open Arkansas

case. Defendant issued a "Consultant Report" on September 3, 2014, in an open Arkansas

lawsuit.       Defendant purposely availed himself of the benefits of this forum when

Defendant became a consultant in clinical and forensic psychology in the state of

Arkansas and when Defendant made substantial contacts with the state and charged

nearly   $20,000     for services rendered in an Arkansas matter. Defendant traveled to

Arkansas to testify an evidentiary deposition as a clinical and forensic psychologist.

                                                                DEFENDANTS

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                                                              I ___
                                                                 EXHIBIT
                                                                   A______
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        4.       Jurisdiction and venue are proper with this Court.

        5.       Defendant represented himself as being a board certified clinical and

forensic psychologist, licensed and certified to provide consultant services in the state of

Arkansas.

        6.       Defendant prepared and issued a "Consultant Report" on September 3,

2014,   for use by Plaintiffs ex-spouse in a child custody suit. Defendant rendered

opinions about Plaintiff and Plaintiffs ex-spouse and Defendant stated he was making a

professional/expert recommendation and referral for Plaintiffs family to be evaluated

by a specific forensic psychologist.

        7.       Upon inquiry to the Arkansas Psychology Board, Defendant failed to apply

and procure an Arkansas license during the time he was acting as a consultant in

Arkansas and Defendant failed to give notice to the Board if he was only going to consult

on one case per year not more than 30 days. See Arkansas Psychology Board Rules,

Rule 5.6.

        8.       Defendant authored a document titled "Consultation Report" and

"Findings and Recommendations" on September 3,         2014,   after providing services or

being retained for approximately 2 years. The Consultation Report was solely based

upon information provided to Defendant by Plaintiffs former spouse who was in

ongoing, contentious litigation against Plaintiff at that time.

        9.       The Consultation Report was issued for use against Plaintiff in an

adversarial proceeding in Arkansas and Defendant failed to conduct any actual

evaluations of Plaintiff or any other party. Defendant also failed to even speak to

Plaintiff or inquire of Plaintiff prior to rendering the Consultation Report.




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       10.    Defendant owed a duty to Plaintiff when Defendant agreed to act as a

forensic and clinical psychology consultant specifically as to Plaintiff and her former

spouse and their family unit at the time.

       11.    Defendant had a duty to be objective, balanced, and accurate in his

analysis and in the formulation and communication of his opinions.

       12.    Defendant was negligent by failing to be objective, balanced, and accurate

in his analysis and in the formulation and communication of his opinions. Defendant

admitted that he only reviewed information provided by Plaintiff's former spouse;

Defendant admitted under oath that his review of text messages between Plaintiff and

her former spouse showed the former spouse to be non-responsive, however,

Defendant's Report stated that texts to Plaintiff went unanswered and the Report never

referred to the former spouse not responding to Plaintiffs texts; and Defendant

admitted he took all records provided by Plaintiffs former spouse at face value and did

no independent investigation into the truth of the records or allegations. These are

offered as examples of the negligence and not an exclusive list.

       13.    Plaintiff has suffered and sustained damages and Defendant's negligence

was the proximate cause of these damages.

       14.    Defendant formulated and communicated his opinions into a written

"Consultation Report" that was issued on Defendant's letterhead and which contains

"findings and recommendations". Defendant furnished a copy to Plaintiffs former

spouse in 2014 and the former spouse still continues to use the false and erroneous

"Consultation Report".

       15.    Defendant's outrageous "Consultation Report" pertaining to Plaintiff has

been disseminated by Defendant without Plaintiffs permission and to the detriment of


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Plaintiff, despite the "Consultation Report" containing what purports to be privileged

and confidential information, such as pharmacy and medical record references and bank

statement references.

        16.    Defendant's outrageous "Consultation Report" makes "findings" wherein

Defendant attacked Plaintiffs "credibility and honesty" based solely on information

provided by Plaintiffs adversary in litigation.

        17.    Defendant's outrageous "Consultation Report" makes "findings" wherein

Defendant attacked Plaintiff and her character by referring to allegations in a motion

which were actually corrected and sealed by the Court after a third party intervened and

demanded the motion to be corrected and sealed due to false and inaccurate allegations

contained therein. More specifically, page 4 of Defendant's Report refers to paragraphs

2   and 3 of a Second Motion for Contempt filed July 24,   2013.   Those exact paragraphs

were corrected or deleted and then sealed by Court Order due to the inaccuracies in

contained therein.

         18.   At the time Defendant formulated and communicated his opinions set

forth in the Consultation Report, Defendant knew that Plaintiff was involved in

adversarial and contentious litigation and that Defendant's report would be used against

Plaintiff. Defendant also knew that he was not licensed in the state of Arkansas as a

psychologist - either forensic or clinical. Defendant also knew that his report could be

further disseminated without any control and that the report was on Defendant's

letterhead which touted himself as "board certified in clinical and forensic psychology".

         19.   Defendant's acted willfully and wantonly because Defendant knew in light

of the surrounding circumstances that's his conduct would naturally and probably result




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in emotional distress to Plaintiff and Defendant continued his conduct in reckless

disregard of the consequences.

      20.    Defendant's conduct was extreme and outrageous, so outrageous and

extreme in character and degree as to go beyond all possible bounds of decency.

Defendant's conduct was atrocious and utterly intolerable in a civilized society-

especially given the fact that Defendant has authored publications regarding forensic

expert roles and case consultation in child custody cases and Defendant has published

the ethical requirements and standards for such roles, yet Defendant violated his own

standards as set forth in these publications. Defendant attacked Plaintiffs character

and mental health without ever interviewing Plaintiff or even reviewing information

provided by Plaintiff. Defendant's work was absolutely biased and outrageous.

Defendant was attempting to influence a court with Defendant's alleged expertise to cast

Plaintiff in a very negative light and Defendant did this with knowledge that his

published report would be used against Plaintiff in a child custody case. In such a case,

facts were extremely important and Defendant attacked Plaintiffs trustworthiness yet

Defendant's own report was not trustworthy as there was no fact-check.

       21.    Plaintiff suffered damages and Defendant's outrageous conduct caused

damages to Plaintiff in the nature of emotional distress and other damages.

       22.    Defendant made numerous false representations of material facts in his

Consultation Report and these were false representations about Plaintiff. Defendant

knew the representations were false and knew he did not have a sufficient basis of

information to make the representations in his Consultation Report.




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       23.       Plaintiff suffered damages and Defendant's deceit and misrepresentation

caused damages to Plaintiff in the nature of emotional distress and other damages.

       24.       Defendant published numerous false statements of facts concerning

Plaintiff.

       25.       These statements of fact were defamatory.

       26.       Defendant acted with negligence in failing to determine the truth of the

statement prior to its publication. Some of the false statements were made with

knowledge the statement was false.

        27.      Publication of the statements in the Consultation Report dated September

3, 2014, was a proximate cause of Plaintiffs damages.

        28.      The findings and opinions set forth in Defendant's Consultant Report are

not being set out herein as they could cause further harm and damage to Plaintiff, even

though the findings are false and inaccurate.

        29.      Plaintiff has also suffered damages in the form of attorney's fees and court

costs due to the ex-husband using the false, inaccurate and misleading report in the

underlying divorce and custody case as well as publishing it to third parties.

        30.      The continued use of the false and inaccurate report by Defendant and

Plaintiffs ex-husband will cause irreparable harm to Plaintiff.

        31.      Plaintiff seeks a declaratory judgment declaring the Consultation Report to

be false and inaccurate. Further, Plaintiff seeks an order enjoining Defendant from any

further dissemination of said report.

        32.      Plaintiff demands her attorney's fees and costs.

        WHEREFORE, Plaintiff respectfully requests the Court to enter a monetary

judgment in favor of Plaintiff and against Defendant on all causes of action set forth


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herein; to grant all relief requested herein; for an injunction against further dissemination

or use of the Consultation Report; for a declaratory judgment regarding the false report;

for court costs and attorney's fees; and for all other appropriate relief to which she is

entitled.



                                                  Respectfully submitted,
                                                  Andrea Brock, P.A.


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